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                                   UNITED STATES DISTRICT COURT
                                  CENTRAL DISTRICT OF CALIFORNIA


                                     CIVIL MINUTES – GENERAL

 Case No.    LA CV21-02693 JAK (MARx)                                        Date        September 7, 2021
 Title       Jeremy Holland v. Bracha Ve Hatzlacha LLC




 Present: The Honorable           JOHN A. KRONSTADT, UNITED STATES DISTRICT JUDGE

                   T. Jackson                                             Not Reported
                  Deputy Clerk                                    Court Reporter / Recorder
          Attorneys Present for Plaintiffs:                   Attorneys Present for Defendants:
                    Not Present                                            Not Present


 Proceedings:           (IN CHAMBERS) ORDER DISMISSING CASE JS-6

An Order to Show Cause re Dismissal for Lack of Prosecution was issued by the Court on August 4,
2021 ordering Plaintiff either to: (i) respond in writing no later than August 11, 2021 as to why the
matter should not be dismissed for lack of prosecution. No response has been provided by Plaintiff.
Therefore, the Court dismisses the matter for lack of prosecution and failure to follow the Court's
Orders.

IT IS SO ORDERED.




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                                                          Initials of Preparer      TJ




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